                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )     No. 3:07-CR-44
V.                                                    )     (Phillips / Shirley)
                                                      )
DARRELL WAYNE LUCK,                                   )
                                                      )
                       Defendant                      )


                              MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. ' 636(b) for disposition or report and recommendation regarding disposition by the

District Court as may be appropriate. This case is before the Court on the timely requests of

Darrell Wayne Luck’s Motion to Extend Time for Filing Motions [Doc. 48].

       The Court established deadlines and set this case for trial at the initial appearance of the

first defendant in this case, Defendant Deborah Nommenson, on June 12, 2007. [Doc. 10]. On

that date, the deadline for pretrial motions was set for July 10, 2007. Since that time other

defendants have arrived for initial appearance in the Eastern District of Tennessee, including

Defendant Luck on June 19, 2007. One defendant has not yet arrived in this jurisdiction for

initial appearance, Defendant Matthew David Sugameli.

       Defendant Luck asserts that additional time for evaluation and decisions regarding the

filing of pretrial motions is necessary due to the volume of discovery materials. These materials

are said to include 10 boxes of documents seized from Mr. Luck’s house, as well as hundreds

of recorded telephone conversations between the alleged co-conspirators. The government does

not oppose Mr. Luck’s request.




Case 3:07-cr-00044-TAV-DCP           Document 59          Filed 07/18/07     Page 1 of 2       PageID
                                           #: 37
       The Court finds that good cause has been shown to extend the deadline previously

establish for filing of motions. Accordingly, Defendant Luck’s Motion to Extend Time for

Filing Motions [Doc. 48] is GRANTED. Pretrial motions for Defendant Luck will be filed by

July 27, 2007. All pending motions will be heard or set for hearing at the Pretrial Conference

on July 31, 2007, at 1:30 p.m.

       IT IS SO ORDERED.

                                                    ENTER:


                                                      s/ C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




                                                     2


Case 3:07-cr-00044-TAV-DCP          Document 59       Filed 07/18/07      Page 2 of 2     PageID
                                          #: 38
